Case 3:17-cv-00072-NKM-JCH Document 696 Filed 04/08/20 Page 1 of 5 Pageid#: 10005




                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,

                                             Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                           Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                           Defendants.


         MOTION FOR PRO HAC VICE ADMISSION OF ALEXANDRA K. CONLON

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the

   Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,
Case 3:17-cv-00072-NKM-JCH Document 696 Filed 04/08/20 Page 2 of 5 Pageid#: 10006




   and counsel of record in the instant proceeding, hereby moves the Court for the admission of

   Alexandra K. Conlon, Esq. to appear pro hac vice on behalf of the Plaintiffs in the above

   captioned case and in support thereof state as follows:

           1.      Ms. Conlon is an attorney with Kaplan Hecker & Fink LLP, 350 Fifth Avenue,

   Suite 7110, New York, NY 10118, Tel: (212) 763-0883, Email: aconlon@kaplanhecker.com.

           2.      Ms. Conlon is qualified and licensed to practice law and is a bar member in

   good standing in the State of New York (Registration No. 5331855 – Date of Admission: Mar.

   2, 2015) and the Commonwealth of Massachusetts (Registration No. 692355 – Date of

   Admission: Nov. 19, 2014). She is also a bar member in good standing with the United States

   District Court for the Southern District of New York (Date of Admission: Nov. 19, 2019).

           3.      Ms. Conlon agrees to submit to and comply with the appropriate rules of

   procedure as required in the case for which she is applying to appear pro hac vice as well as the

   rules and standards of professional conduct applicable to all lawyers admitted to practice before

   this Court.

           WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Alexandra K. Conlon, Esq. to appear pro hac vice on behalf of Plaintiffs in

   the above captioned case, and to appear at hearings or trials in the absence of an associated

   member of the bar of this Court.




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 696 Filed 04/08/20 Page 3 of 5 Pageid#: 10007




           Dated: April 8, 2020       Respectfully submitted,

                                      /s/ Robert T. Cahill
                                      Robert T. Cahill (VSB 38562)
                                      COOLEY LLP
                                      11951 Freedom Drive, 14th Floor
                                      Reston, VA 20190-5656
                                      Telephone: (703) 456-8000
                                      Fax: (703) 456-8100
                                      Email: rcahill@cooley.com

                                      Counsel for Plaintiffs




                                        3
Case 3:17-cv-00072-NKM-JCH Document 696 Filed 04/08/20 Page 4 of 5 Pageid#: 10008




                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2020, I filed the foregoing with the Clerk of Court through the
  CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                                 James E. Kolenich
   David L. Hauck                                          Kolenich Law Office
   David L. Campbell                                       9435 Waterstone Blvd. #140
   Duane, Hauck, Davis & Gravatt, P.C.                     Cincinnati, OH 45249
   100 West Franklin Street, Suite 100                     jek318@gmail.com
   Richmond, VA 23220
   jgravatt@dhdglaw.com                                    Elmer Woodard
   dhauck@dhdglaw.com                                      5661 US Hwy 29
   dcampbell@dhdglaw.com                                   Blairs, VA 24527
                                                           isuecrooks@comcast.net
   Counsel for Defendant James A. Fields, Jr.
                                                           Counsel for Defendants Matthew Parrott,
   Bryan Jones                                             Traditionalist Worker Party, Jason Kessler,
   106 W. South St., Suite 211                             Nathan Damigo, and Identity Europa, Inc.
   Charlottesville, VA 22902                               (Identity Evropa)
   bryan@bjoneslegal.com
                                                           John A. DiNucci
   Counsel for Defendants Michael Hill,                    Law Office of John A. DiNucci
   Michael Tubbs, and League of the South                  8180 Greensboro Drive, Suite 1150
                                                           McLean, VA 22102
   W. Edward ReBrook                                       dinuccilaw@outlook.com
   The ReBrook Law Office
   6013 Clerkenwell Court                                  Counsel for Defendant Richard Spencer
   Burke, VA 22015
   edward@rebrooklaw.com

   Counsel for Defendants National Socialist
   Movement, Nationalist Front and Jeff Schoep


           I further hereby certify that on April 8, 2020, I also served the following non-ECF participants,
  via electronic mail, as follows:

   Elliott Kline a/k/a Eli Mosley                          Vanguard America
   eli.f.mosley@gmail.com                                  c/o Dillon Hopper
   deplorabletruth@gmail.com                               dillon_hopper@protonmail.com

   Matthew Heimbach                                        Christopher Cantwell
   matthew.w.heimbach@gmail.com                            christopher.cantwell@gmail.com

   Robert Azzmador Ray
   azzmador@gmail.com




                                                       4
Case 3:17-cv-00072-NKM-JCH Document 696 Filed 04/08/20 Page 5 of 5 Pageid#: 10009




                                            s/ Robert T. Cahill
                                            Robert T. Cahill (VSB 38562)
                                            COOLEY LLP
                                            11951 Freedom Drive, 14th Floor
                                            Reston, VA 20190-5656
                                            Telephone: (703) 456-8000
                                            Fax: (703) 456-8100
                                            Email: rcahill@cooley.com

                                            Counsel for Plaintiffs




                                        5
